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                                EXHIBIT A
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     September 19, 2018


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     Re: Nicky Rivera, et al., v Midway Importing, Inc., Case No. CV 18-1469-AB


     Reporter’s Transcript of Proceedings had August 10, 2018, before the Hon. Andre
     Birotte, Jr., Judge


                                                         $261.00




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                                 THANK YOU
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